Case 1:18-cv-02192-HG-PK   Document 86-9   Filed 04/04/22   Page 1 of 7 PageID #:
                                    2093




                       Exhibit 9
         Case 16-2119, Document
Case 1:18-cv-02192-HG-PK        80, 10/21/2016,
                           Document  86-9 Filed 1892599,
                                                  04/04/22Page288
                                                             Page of 330
                                                                  2 of 7 PageID #:
                                     2094




              Case 1:04-cv-02799-NG-VVP      Document 272    Filed 12/13/2006       Page 1 of 6




                                                                        rJ  ClS'fK'S OFFICE
                                                                   U.S. DiSTi1!CT COURT, ED.iN.Y.
        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
                                               X

        COURTNEY LINDE, et al.,
                                                                   BROOKLYN OFFICE
                           Plaintiffs,                      ORDER
                                                            04 CV 2799 (NG)(VVP)
           - against -

         ARAB BANK, PLC,

                           Defendant.
                                               X

         PHILIP LITLE, et al,

                            Plaintiffs,
                                                            04 CV 5449 (NG)(VVP)
            - against -

         ARAB BANK, PLC,

                            Defendant.
                                               X

         ORAN ALMOG, et al.,

                            Plaintiffs,
                                                            04 CV 5564 (NG)(VVP)
            - against -

         ARAB BANK, PLC,

                            Defendant.
                                                   X

         ROBERT L. COULTER, SR. et al.,

                            Plaintiffs,
                                                             05 CV 365 (NG)(VVP)
            - against -

         ARAB BANK, PLC,

                                Defendant.
                                                   X




                                                                                           JA2958
         Case 16-2119, Document
Case 1:18-cv-02192-HG-PK        80, 10/21/2016,
                           Document  86-9 Filed 1892599,
                                                  04/04/22Page289
                                                             Page of 330
                                                                  3 of 7 PageID #:
                                     2095




              Case 1:04-cv-02799-NG-VVP           Document 272       Filed 12/13/2006     Page 2 of 6




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        GILA AFRIAT-KURTZER. et al.,

                              Plaintiffs,
                                                                   OS CV 388 (NG)(VVP)
            -against -

        ARAB BANK, PLC,

                              Defendant.
        ------------------x
         MICHAEL BENNETT, et al.,

                              Plaintiffs,
                                                                   OS CV 3183 (NG)(VVP)
            - against -

         ARAB BANK, PLC,

                              Defendant.
         ------------------x
         ARNOLD ROTH, et al.,

                              Plaintiffs,
                                                                   OS CV 3738 (NG)(VVP)
            - against -

         ARAB BANK, PLC,

                              Defendant.
         ------------------x
         GERSHON, United States District Judge:

                This is an appeal by plaintiffs from an order of the Honorable Viktor P. Pohorelsky,

         Magistrate Judge, dated March 26, 2006, which denied plaintiffs' request for discovery of

         transactional documents reviewed by the Office of the Comptroller of the Currency ("OCC") at the

         defendant's New York branch. The parties have submitted voluminous papers on the appeal, and

         oral argument was heard on November 14. 2006. Pursuant to Rule 72(a) of the Federal Rules of



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         Case 16-2119, Document
Case 1:18-cv-02192-HG-PK        80, 10/21/2016,
                           Document  86-9 Filed 1892599,
                                                  04/04/22Page290
                                                             Page of 330
                                                                  4 of 7 PageID #:
                                     2096




               Case 1:04-cv-02799-NG-VVP             Document 272        Filed 12/13/2006        Page 3 of 6




        Civil Procedure, the non-dispositiv e rulings of a magistrate judge may be overturned only if found

        to be clearly erroneous or contrary to law. Judge Pohorelsky has ably supervised the discovery and

         other pretrial proceedings in these massive cases, and a mere disagreement with a discretionary

         ruling would not merit the granting of an appeal. However, upon review of the current state of the

         record in this case, as it emerged in the parties' papers on the appeal and on oral argument, I

         conclude that, in this instance, the appeal must be granted and the defendant ordered to produce the

         documents sought.

                Judge Pohorelsky' s order relied upon three rationales. The first was that the Bank would be

         unable to determine what documents the OCC had reviewed when it was on the site. As counsel for

         the Bank confirmed on oral argument of the appeal, this rationale was based solely on the

         representation of counsel and not on, for example, affidavits from Bank officials. Tr. at 6, Nov. 14,

         2006. The Comptroller's Findings, contained in the OCC consent order, recite that" Arab Bank and

          Branch management cooperated and facilitated the Comptroller's review of transactions, accounts

          and existing Branch systems and controls .... " Pis.' Br., Ex. A. I at 2. At oral argument, counsel

          for the Bank confirmed that "bank people" were present at the review and stated, "we never said that

          the Bank has no idea what the OCC reviewed." Tr. at 7, Nov. 14, 2006. In light of this, I conclude

          that the Bank is able to determine the documents which the OCC reviewed.

                 The second rationale was that the discovery requested was "not reasonably calculated to lead

          to admissible evidence" because it was broader than what is relevant to plaintiffs' case and because

          "[t]he focus of the OCC investigation was on the procedures implemented by the bank, not on

          terrorist activity." These conclusions do not give sufficient weight to the fact that the investigations

          by the OCC and the Department of the Treasury Financial Crimes Enforcement Network


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         Case 16-2119, Document
Case 1:18-cv-02192-HG-PK        80, 10/21/2016,
                           Document  86-9 Filed 1892599,
                                                  04/04/22Page291
                                                             Page of 330
                                                                  5 of 7 PageID #:
                                     2097




               Case 1:04-cv-02799-NG-VVP              Document 272          Filed 12/13/2006       Page 4 of 6




        ("FinCEN"), whose investigation relied in part on the OCC investigation, were not focused on

        minor, technical errors, but rather on the failure to implement procedures and comply with

        regulations that had, as a prime purpose, the prevention of the financing of terrorism, which is one

        of the bases of plaintiffs' claims. The Assessment of Civil Money Penalty, issued by FinCEN

        concurrently with the OCC's penalty of the same amount, in its Determinations Section, found

        expressly that Arab Bank's funds transfers "posed heightened risks of money laundering and terrorist

         financing," detailed the reasons for that finding, and concluded that the Bank had failed to comply

         with legal requirements for learning about the participants in its funds transfers, had failed to develop

         proper procedures for determining participants, and had failed to report suspicious activity. Pis.' Br.,

         Ex. B at 2-7. That the OCC was not focused on the underlying terrorist activity, but rather on the

         Bank's failure to comply with all legal requirements despite the heightened risk involved in its

         transactions, does not make its investigation irrelevant to plaintiffs' case. On the contrary, plaintiffs'

         analysis of the material upon which the OCC based its conclusions could well be helpful to plaintiffs

         in their effort to show the Bank's knowing and intentional involvement with the terrorist

         organizations they claim are responsible for their injuries.

                  Finally, Judge Pohorelsky's third reason for denying the request was that any relevant

         documents would be covered by other requests made by plaintiffs. While this is correct, it is

         pertinent only insofar as the court can be confident that compliance with those other requests has

         been full. prompt and unequivocal. Here, based upon the record made before me on the appeal, the

         failure of the Bank to produce promptly the transactional documents at issue pursuant to other

         requests does not create confidence that reliance on other requests will be effective.

                 _Discovery in the federal courts depends upon good faith compliance with demands, and a


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         Case 16-2119, Document
Case 1:18-cv-02192-HG-PK        80, 10/21/2016,
                           Document  86-9 Filed 1892599,
                                                  04/04/22Page292
                                                             Page of 330
                                                                  6 of 7 PageID #:
                                     2098




               Case 1:04-cv-02799-NG-VVP            Document 272         Filed 12/13/2006       Page 5 of 6




        party requesting documents should not be required to police its adversary's responses to its requests.

         To begin with, although counsel for the Bank avowed his recognition that the defendant in this case

         is Arab Bank, which is based in Jordan, and not Arab Bank's New York branch, the defendant's

         papers are replete with suggestions that, in fact, the Bank has not fully recognized its obligation to

         use all of its resources in responding to discovery requests. For example, the Bank stated that, "[i]n

         searching its New York records, the Bank had to rely exclusively on information available to it in

         the United States." Def.'s Sur. at 12. Thus, while the Bank has taken the position thattransactions

         that went through New York are not covered by foreign bank secrecy laws, it has failed to produce

         New York documentation of what it calls "cover transactions," admittedly called for by plaintiffs'

         requests, solely on the ground that the documentation was not readily identifiable on the Bank's New

         York computers. This is so even though counsel did not dispute that records of millions of dollars

         of such transactions were in fact located in New York. If they are in fact not readily computer

         searchable by the means identified by counsel, then the Bank was obligated to use other means,

         including communications between Arab Bank officials in Jordan and New York, to determine how

         to locate and produce them. It is also noteworthy that counsel for the Bank has suggested a lack of

          connection to New York- saying, for example, that the documents "didn't touch New York" - even

          though the so-called "cover transactions" for which no documents were produced did in fact go

          through New York. Tr. at 58, Nov. 14, 2006. As the Bank acknowledges, foreign bank secrecy laws

          provided no arguable excuse for not disclosing responsive funds transfers, including "cover

          transactions," which went through New York.

                   In defonding its failure to produce the documentation for these transactions, Arab Bank

          emph~izes that it produced ''customer" transactions, namely, 73 documents describing transactions


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         Case 16-2119, Document
Case 1:18-cv-02192-HG-PK        80, 10/21/2016,
                           Document  86-9 Filed 1892599,
                                                  04/04/22Page293
                                                             Page of 330
                                                                  7 of 7 PageID #:
                                     2099




               Case 1:04-cv-02799-NG-VVP             Document 272         Filed 12/13/2006       Page 6 of 6




         in New York involving the Saudi Committee. In so doing, the Bank obfuscates its obligation to

         produce evidence of funds transfers that went through New York involving the Saudi Committee

         even where the Saudi Committee was not the "customer" of Arab Bank. The suggestion that the

         Bank can fulfill its discovery obligations by producing customer transactions is belied by the findings

         of FinCEN as to the significance of funds transfers. The FinCEN Determinations Summary

         describes the New York branch of Arab Bank as "a clearing institution for funds transfers in United

         States dollars" and states that the New York branch cleared funds "as an intermediary institution."

         Pis.' Br., Ex. Bat 2. ("Arab Bank - New York cleared funds transfers from originators with accounts

         at members of the Arab Bank Group in foreign jurisdictions, to beneficiaries with accounts at the

         same or other members of the Arab Bank Group in foreign jurisdictions.") Id. FinCEN found that

         "(t]he customer base and geographic locations of the Arab Bank Group and correspondent

         institutions, and the volume of funds transfers that Arab Bank-New York cleared, posed heightened

         risks of money laundering and terrorist financing." Id. at 3.

                 In sum, it is simply not acceptable at this late date for Arab Bank to withhold the documents

         showing the funds transfers through New York which plaintiffs seek to make their case.

                                                CONCLUSION

                 The defendant is directed to produce to plaintiffs within 30 days all transactional records

         produced to the OCC.



                                                                         SO ORDERE)).


                                                                         NINA GERSHON
                                                                         United States District Judge

         Dated: December    /3,
                             2006
                Brooklyn, New York

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